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on December 22, 2023. During that meet and confer, Plaintiffs offered to limit the deposition to
no more than three hours. Microsoft refused and continued to object to his deposition. The
parties agreed to brief the issue.

        The default rule is that parties are entitled to take up to ten depositions without leave of
court, and “[a]bsent extraordinary circumstances, it is very unusual for a court to prohibit the
taking of a deposition.” Groupion, LLC v. Groupon, Inc., No. 11-0870 MEJ, 2012 WL 359699,
at *2 (N.D. Cal. Feb. 2, 2012); see also Blankenship v. Hearst Corp., 519 F.2d 418, 429 (9th Cir.
1975) (“[A] strong showing is required before a party will be denied entirely the right to take a
deposition.” (cleaned up)). Thus, even for high-level executives, “[i]f the noticing party makes a
proper showing, the party resisting the apex deposition has a heavy burden to show why the
deposition should be prevented.” Wonderland Nurserygoods Co. v. Baby Trend, Inc., No.
514CV1153JWHSPX, 2022 WL 1601402, at *2 (C.D. Cal. Jan. 7, 2022). This Court in Finsar,
for example, overruled an apex objection where the noticing party made a “plausible showing
that [the apex officer] may have first-hand knowledge of relevant matters as a percipient
witness.” Finisar Corp. v. Nistica, Inc., No. 13-CV-03345-BLF(JSC), 2015 WL 3988132, at *3
(N.D. Cal. June 30, 2015). Other courts have held that where a party makes a “plausible showing
that [the deponent] may have unique knowledge of relevant matters,” the “apex” objection is
generally overruled. See Wonderland, 2022 WL 1601402, at *3. This makes sense, given that the
purpose behind the so-called apex objection “is to prevent harassment of a high-level corporate
official where he or she has little or no knowledge.” Ray v. BlueHippo Funding, LLC, No. C-06-
1807 JSW (EMC), 2008 WL 4830747, at *2 (N.D. Cal. Nov. 6, 2008) (emphasis added). Thus, a
reasonable inference that the deponent may have relevant knowledge is sufficient to overcome an
“apex” objection. See, e.g., Opperman v. Path, Inc., No. 13-CV-00453-JST, 2015 WL 5852962,
at *2 (N.D. Cal. Oct. 8, 2015) (“The Court does not doubt that Mr. [Morin] is a busy person with
substantial responsibilities. But that fact does not control where, as here, there is a substantial
basis to believe that he may have relevant information to which Plaintiff is entitled under the
Federal Rules.” (quoting Hunt v. Cont'l Cas. Co., No. 13-CV-05966-HSG, 2015 WL 1518067, at
*3 (N.D. Cal. Apr. 3, 2015))).

        Microsoft cannot establish the extraordinary circumstances necessary to deny Plaintiffs
the right to pursue relevant information they are entitled to under the Federal Rules. Mr. Nadella
has unique knowledge relevant to this matter. Most importantly, he directly represented
Microsoft in negotiations with Activision and signed the acquisition documents on behalf of
Microsoft. Microsoft does not dispute this. He is therefore a percipient witness regarding the
negotiations and the merger. As the Court held during the hearing related to Mr. Kotick’s
deposition, Plaintiffs “made a showing that the CEO is a percipient witness. He signed the
merger document after all.” See Hr’g Tr. (June 1, 2023) at 6.

        Mr. Nadella also has non-duplicative percipient knowledge about Microsoft’s gaming
business, and how Microsoft’s gaming business fits into Microsoft’s larger plans and strategies.
There are voluminous emails and other documentary records establishing Mr. Nadella’s
involvement in the relevant issues in this case. In Microsoft’s production of documents to
Plaintiffs, Nadella is the custodian of record for over 12,000 documents, and he is in the “to,”
“from,” or “cc” fields of over 5,000 emails. As but one example, in an email sent from Mr.
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        This Court instructed Plaintiffs that they would have to show why they need Mr.
Nadella’s testimony before being permitted to depose him. (Tr. of 8/31/23 Status Conference at
7:20-8:10.) Despite having four months to come up with some basis for deposing Mr. Nadella,
Plaintiffs have failed to identify any area of unique knowledge justifying an apex deposition, or
any other valid justification for yet another presumably duplicative deposition. Their motion
should be denied.

        Plaintiffs acknowledge that in order to obtain an apex deposition, they must show that
Mr. Nadella has unique first-hand, non-repetitive knowledge that is not available through less
burdensome means. Affinity Labs of Tex. v. Apple, Inc., 2011 U.S. Dist. LEXIS 53649, at *41-44
(N.D. Cal. May 9, 2011) (denying request to depose Apple’s CEO); Ramirez v. Zimmerman,
2019 U.S. Dist. LEXIS 81336, *20 (S.D. Cal. May 14, 2019) (denying request to depose apex
witness where the plaintiff did not establish that the witness’s knowledge of planning was
unobtainable from other sources). Although Mr. Nadella is Microsoft’s CEO and signed the
merger agreement, the Court has previously observed that it did not “see Mr. Nadella’s testimony
playing any role at all” in the FTC v. Microsoft hearing, which involved similar issues. (Tr. of
8/31/23 Status Conference, at 7:20-22.) Even beyond that point, Plaintiffs have not come close
to meeting the test that they acknowledge applies. All they have done is identify a few vague
and general topics—the negotiations over the Activision merger, Microsoft’s gaming business,
and the topic of monopoly power generally. These are topics they have already explored at
length with other witnesses, on top of the fact that they already have transcripts of an
investigational hearing and deposition of Mr. Nadella as well as his FTC trial testimony. Indeed,
they have previously asserted that Mr. Spencer is the most knowledgeable witness on these
relevant subjects, when they successfully attempted to get more deposition time with him than
previously allotted. (See Dkt. 287.)

       For similar reasons, Plaintiffs’ request fails even without resort to the apex doctrine. Mr.
Nadella’s deposition would be duplicative of other testimony. Plaintiffs have had ample
opportunity to obtain the information they seek—including through their own depositions of
witnesses with superior knowledge. And the deposition is likely to be a waste of time and is
disproportional to the needs of this case.

        First, courts must limit discovery that is “unreasonably cumulative or duplicative, or can
be obtained from some other source that is more convenient, less burdensome, or less
expensive.” Fed. R. Civ. Proc. 26(b)(2)(C)(i); see also Scalia v. Int’l Longshore & Warehouse
Union, 337 F.R.D. 281, 292 (N.D. Cal. 2020) (permitting only one deposition of a representative
for each entity, where additional depositions would be duplicative). Plaintiffs make no attempt
to deny that the topics on which they seek to depose Mr. Nadella are duplicative of prior
depositions. Plaintiffs have access to mountains of testimony on every aspect of the Microsoft-
Activision acquisition, including from Mr. Nadella. As noted above, they have his
investigational hearing, deposition, and trial testimony, during which issues relevant to this
merger were examined at length. Moreover, Plaintiffs have taken the depositions of 6 high-level
executives, and Microsoft has produced 34 additional transcripts of sworn deposition and
investigational hearing testimony from Microsoft and Activision witnesses. All told, Plaintiffs
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have over 212 hours of deposition and investigational hearing testimony from Microsoft
witnesses about the merger. Microsoft further produced the transcripts of 5 days of testimony
from the hearing in FTC v. Microsoft—testimony which Plaintiffs’ counsel attended in large part.
By any measure, that would make further testimony from Mr. Nadella cumulative and
duplicative.

         Faced with this extensive record, it is no surprise that Plaintiffs cannot name a unique
reason to depose Mr. Nadella. Instead, they cite a single email thread from 2022 that they would
like to question him about. At the start, Plaintiffs overstate Mr. Nadella’s contribution to the
discussion: Mr. Nadella was not “instruct[ing]” Phil Spencer on goals for the business; the two
were aligned on high-level strategy. (See Ex. C.) Plaintiffs have deposed the other three
executives who participated in that email discussion. Mr. Spencer, in particular, provided
detailed testimony about the business strategies discussed in the email thread, (Ex. D, Spencer
Dep. Tr. at 41-50), and as Mr. Nadella has explained under oath to the FTC, Mr. Spencer is
better suited to discuss specifics related to business strategies for the gaming business (see, e.g.,
Ex. E, Nadella FTC Dep. Tr. at 159:15-24). The only question that drew an objection was a
trivial inquiry about why Mr. Nadella did not say something specific in the email chain, and Mr.
Spencer answered that question. (Ex. D at 46:9-21.) Nor can Plaintiffs complain that they are
without Mr. Nadella’s perspective on how gaming fits into Microsoft’s range of business lines,
because he testified about this subject in his FTC deposition. (Ex. E at 113-115.)

        Second, Plaintiffs generally suggest that Mr. Nadella has information about the
negotiation of the merger, strategic rationale, and “how the acquisition fits in with Microsoft’s
other technology strategies and ambitions.” But courts must limit discovery where “the party
seeking discovery has had ample opportunity to obtain the information.” Fed. R. Civ. Proc.
26(b)(2)(C)(ii). Given “ample opportunity to obtain this information” from other witnesses,
Plaintiffs have wasted it. To start, Mr. Spencer is the primary decision-maker regarding game
exclusivity and, contrary to Plaintiffs’ assertions, was the chief negotiator of the acquisition (see,
e.g., Ex. A, Kotick Dep. Tr. at 25:8-17). Plaintiffs point to testimony that only demonstrates Mr.
Nadella’s limited and high-level involvement. Upon asserting that Mr. Spencer “is
knowledgeable on all aspects of Microsoft’s gaming business and has relevant knowledge as to
the numerous issues at the heart of this case, including all of the new contracts, game releases,
and integration of Activision post-merger that is now ongoing,” (Dkt. 287 at 2), Plaintiffs
obtained additional time to depose him. During that deposition, Plaintiffs largely failed to use
their time to cover new topics, instead retreading much of the FTC’s questioning. They did not
even question Mr. Spencer about the negotiation of the merger agreement. Plaintiffs’ choice not
to obtain this information from the primarily responsible person does not entitle them to depose
Mr. Nadella now. More broadly, Plaintiffs have now had the chance to depose Mr. Smith (the
Vice Chair of Microsoft), Ms. Hood, Mr. Stuart, and Mr. Booty—all high-ranking executives at
Microsoft—and spent much of their time asking duplicative questions about the same small set
of documents and themes. It is hard to imagine the deposition of Mr. Nadella being any
different.

       Third, courts must limit discovery that is irrelevant or disproportional to the needs of the
case. Fed. R. Civ. Proc. 26(b)(1), (b)(2)(C)(iii); see also Roberts v. Clark Cnty. Sch. Dist., 312
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F.R.D. 594, 603 (D. Nev. 2016) (“lawyers must size and shape their discovery requests to the
requisites of a case,” requiring “active involvement of federal judges to make decisions regarding
the scope of discovery”). Plaintiffs’ arguments for deposing Mr. Nadella demonstrate that they
are focused on inconsequential tangents. Plaintiffs’ claims, taken at their broadest, focus on
concerns about foreclosure of competition in the gaming industry. The sole document they wish
to question Mr. Nadella on relates to the relationship between Microsoft’s gaming and non-
gaming business lines. Plaintiffs do not explain how that is relevant to any claim or defense in
this action, let alone in any way that justifies further questioning of Mr. Nadella. Their closing
contention, that Mr. Nadella has previously testified in a different antitrust case involving
different companies in a different industry, only serves to underscore the degree to which their
request represents an unwarranted fishing expedition.


Respectfully Submitted,

                                                       /s/ Cadio Zirpoli

                                                             Counsel for Plaintiffs



                                                       /s/ Tania Rice

                                                             Counsel for Microsoft




cc: All counsel of record via ECF



                                    ATTESTATION OF FILER
       Pursuant to Civil L.R. 5-1(h)(3), regarding signatures, I, Valarie Williams, attest that

concurrence in the filing of this document has been obtained.


Dated: January 5, 2024                                          /s/ Cadio Zirpoli
